                Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                    Desc
                                                        Main Document    Page 1 of 34

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      7
                           - - - -- - - - - - - - - - - -
                                                                                                                         D Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               BIS CLUB AND BAR LCC

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names


3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                 business

                                   4164 N Perris Blvd                                            23299 Alta Oaks Dr
                                   Perris, CA 92571                                              Wildomar, CA 92595
                                   Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                   Riverside                                                     Location of principal assets, if different from principal
                                   County                                                        place of business

                                                                                                 Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor               ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                   D Partnership (excluding LLP)
                                   D other. Specify:




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
               Case 6:23-bk-14768-RB                        Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38 Desc
                                                            Main Document    Page 2 of 34
Debtor    BIS CLUB AND BAR LCC                                                      Case number {if known)
          Name
                                                                                                           ---------------

7.   Describe debtor's business        A. Check one:
                                       D Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                       D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                       D Railroad (as defined in 11 U.S.C. § 101(44))
                                       D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                       D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ■ None of the above

                                       B. Check all that apply
                                       D Tax-exempt entity (as described in 26 U.S.C. §501)
                                       D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts .gov/four-digit-national-association-naics-codes.
                                                7224

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                    ■ Chapter 7
     A debtor who is a "small          D Chapter 9
     business debtor" must check
                                       0   Chapter 11. Check all that apply
     the first sub-box. A debtor as
     defined in§ 1182(1) who                                 D   The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor") must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
     check the second sub-box.
                                                             D   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
                                                             D   A plan is being filed with this petition.
                                                             D   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             D   The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       D Chapter 12
9.   Were prior bankruptcy             ■ No.
     cases filed by or against
     the debtor within the last 8      □ Yes.
     years?
     If more than 2 cases , attach a
     separate list.                              District
                                                 District
                                                            ---------- When
                                                                       When
                                                                            --------
                                                                                     Case number
                                                                                     Case number
                                                            ----------      --------




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                 Case 6:23-bk-14768-RB                           Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                     Desc
                                                                 Main Document    Page 3 of 34
Debtor    BIS CLUB AND BAR LCC                                                                           Case number (if known}
          Name

1O. Are any bankruptcy cases               ■ No
    pending or being fi led by a
    business partner or an                 □ Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                   Relationship
                                                     District
                                                                - ---------~---------
                                                                - - - - - - - - - - When _ _ __ _ _ _ Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       D      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             ■ No
    have possession of any
    real property or personal          □ Yes.       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property that needs
     immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                    D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                    D It needs to be physically secured or protected from the weather.
                                                    D It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                    0 Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                    □ No
                                                    D Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of                      Check one:
    available funds
                                                D Funds will be available for distribution to unsecured creditors.
                                                ■ After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                ■ 1-49                                            D 1,000-5,ooo                              D 25,001-50,000
    creditors                                                                            D 5001-10,000
                                       D 50-99                                                                                      D 50,001-100,000
                                       D 100-199                                         D 10,001-25,000                            D More than100,000
                                       D 200-999

15. Estimated Assets                   ■ $0 - $50,000                                    D $1,000,001 - $10 million                 0 $500,000,001 - $1 billion
                                       D $50,001 - $100,000                              D $10,000,001 - $50 million                0 $1,000,000,001 - $10 billion
                                       D $100,001 - $500,000                             D $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                       D $500,001 - $1 million                           D $100,000,001 - $500 million              D More than $50 billion

16. Estimated liabilities              D $0 - $50,000                                    D $1,000,001 - $1 O million                D $500,000,001 - $1 billion

 Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
              Case 6:23-bk-14768-RB          Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38 Desc
                                             Main Document    Page 4 of 34
Debtor    BIS CLUB AND BAR LCC                                       Case number (if known)
          Name
                                                                                            --------------
                          0   $50,001 - $100,000                    0 $10,000,001 - $50 million     0 $1,000,000,001 - $10 billion
                          ■ $100,001 - $500,000                     0 $50,000,001 - $100 million    D $10,000,000,001 - $50 billion
                          0 $500,001 - $1 million                   0 $100,000,001 - $500 million   D More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                 Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                       Desc
                                                         Main Document    Page 5 of 34
Debtor    BIS CLUB AND BAR LCC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      October 14, 2023
                                                   MM/DD/YYYY


                              x~~~~-                                                                       Guadalupe Villavicenico
                                                                                                           Printed name

                                  Title   Owner




18. Signature of attorney     X           ~ ~A~
                                  Signature of attorney for debtor
                                                                                                            Date October 14, 2023
                                                                                                                 MM/DD/YYYY

                                  Bruce A. Boice
                                  Printed name

                                  Law Office of Boice & Associates
                                  Firm name

                                  307 E. Chapman Ave
                                  Suite 102
                                  Orange, CA 92866
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      949-690-8647                  Email address      bboice@lawyer.com

                                  249296 CA
                                  Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
           Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                    Desc
                                                    Main Document    Page 6 of 34




Fill in this information to identify the case:

Debtor name         BIS CLUB AND BAR LCC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                            D Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       ■       Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)
       ■       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       ■       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       ■       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       ■       Schedule H: Codebtors (Official Form 206H)
       ■       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       D       Amended Schedule
       □       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
       ■       Other document that requires a declaration       Statement of Financa Affiars, Verification of Master Mailing List of
                                                                Crditors, Corporate, Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true a

       Executed on       October 14, 2023


                                                            Guadalupe Villavicenico
                                                            Printed name

                                                            Owner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 6:23-bk-14768-RB                       Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                   Desc
                                                       Main Document    Page 7 of 34


                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
     against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
     corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
     and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
     assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
     included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2.   (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
     debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
     any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
 None

3.   (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
     of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
     of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
     or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
     such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
     still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
     A/B that was filed with any such prior proceeding(s).)
 None

4.   (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
     been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether sti ll
     pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
     that was filed with any such prior proceeding(s).)
 One

I declare, under penalty of perjury, that the foregoing is true and correct.
 Executed at
                   - ~ - - - - - - - - - - , California.
                 -Orange                                                                             .~'t;luVillavicenico
                                                                                                       ;JU:t~
 Date:            October 14, 2023                                                                    Signature of Debtor 1



                                                                                                       Signature of Debtor 2




                   This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
October 2018                                                               Page1                F 1015-2.1.STMT.RELATED.CASES
               Case 6:23-bk-14768-RB                                                 Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                                                    Desc
                                                                                     Main Document    Page 8 of 34
 Fill in this information to identify the case:

 Debtor name               BIS CLUB AND BAR LCC

 United States Bankruptcy Court for the:                                CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                                            O    Check if this is an
                                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

■@IM Summary of Assets

 1.    Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/8. .. .. ...... ................ .. .. .... ...... .. ............. .. .. ........... ..... ......... ..... .. .... ....... ...... ............ ..                        $         0.00
                                                                                                                                                                                                                      --------
       1b. Total personal property:
           Copy line 91A from Schedule A/8 .... ........................... .. ......... .... ... ............ ................ .. ...... ....... ........ .......... .... .                                      $       35,000.00
                                                                                                                                                                                                                      --------
       1 c. Total of all property:
            Copy line 92 from Schedule A/8. ..... .... .. ......... ... ............................. .... .. .......... ..... .... .................... ...... ... ...                                           $            35,000.00


■@•W Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule 0 .......... ............ ........ ..... .                                                                       $                    0.00


 3.    Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule EIF..... ....................... ... ...... .. .. ...... ........... .. ... .... ...... .                                                   $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the tota l of the amount of cla ims from Part 2 from line 5b of Schedule E/F.. .................... .... .. ..... ....... .... ... .                                                             +$           166,134.98


 4.    Total liabilities ...... ......................... ... .. ... ....... ....... .......... .... .. .. ... .. ... ... .... ..... .......... .. ......... ...... ....... .... ..... ..... .......... .
       Lines 2 + 3a + 3b                                                                                                                                                                                                   166,134.98
                                                                                                                                                                                                            1$




 Official Form 206Sum                                                       Summary of Assets and Liabilities for Non-Individuals                                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case. LLC - www.bestcase.com
              Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                         Desc
                                                       Main Document    Page 9 of 34
Fill in this information to identify the case:

Debtor name         BIS CLUB AND BAR LCC

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                 D Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
  schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
  debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
-              Cash and cash equivalents                                     •
1. Does the debtor have any cash or cash equivalents?

      D No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                    Wells Fargo Bank
            3.1 .   (Negative amount in bank account)                  Checking                              3995                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

-            Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      D No. Go to Part 3.
      ■ Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.    Security Deposit with Landloard                                                                                                  $9,500.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment

 9.         Total of Part 2.                                                                                                                      $9,500.00
            Add lines 7 through 8. Copy the total to line 61.

Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                                     page 1
            Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                               Desc
                                                     Main Document    Page 10 of 34
 Debtor        BIS CLUB AND BAR LCC                                                           Case number (If known) _____________ _
               Name



-           Accounts receivable
10. Does the debtor have any accounts receivable?

      ■ No. Go to Part 4.
   0 Yes Fill in the information below.


- - Investments
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
   D Yes Fill in the information below.

-            Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

   ■ No. Go to Part 6.
   D Yes Fill in the information below.

-            Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

   ■ No. Go to Part 7.
   0 Yes Fill in the information below.

-           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

   D No. Go to Part 8.
   ■ Yes Fill in the information below.

           General description                                             Net book value of          Valuation method used   Current value of
                                                                           debtor's interest          for current value       debtor's interest
                                                                           (Where available)

39.        Office furniture
           Tables, chairs, bar, silverware, and misc enant
           improvements                                                                Unknown                                           $5,000.00



40.        Office fixtures

41 .       Office equipment, including all computer equipment and
           communication systems equipment and software
           Cash register, computer, printer, business
           software
           (Locked in premises by landlord)                                            Unknown                                             $500.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin , or baseball card
           collections; other collections, memorabilia , or collectibles

43.        Total of Part 7.                                                                                                              $5,500.00
           Add lines 39 through 42. Copy the total to line 86.                                                                                       1

44.        Is a depreciation schedule available for any of the property listed in Part 7?
           ■ No
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page2
                  Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                            Desc
                                                          Main Document    Page 11 of 34
    Debtor         BIS CLUB AND BAR LCC                                                      Case number (If known)
                                                                                                                      - - - - - -- - - - - - - -
                   Name


                □ Yes

    45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
                ■ No
                □ Yes

-                  Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      D No. Go to Part 9.
       ■ Yes Fill in the information below.

                General description                                        Net book value of         Valuation method used     Current value of
                Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
                (i.e., VIN, HIN, or N-number)                              (Where available)

    47.         Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


    48.         Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
                floating homes, personal watercraft, and fishing vessels

    49.         Aircraft and accessories


    50.         Other machinery, fixtures, and equipment (excluding farm
                machinery and equipment)
                Beer tabs, ice machine, drink dispencer
                (Locked in premises by landlord)                                      Unknown                                            $20,000.00


                AC Unit installed 8/11/2021
                (Locked in premises by landlord)                                      Unknown                                             Unknown




    51 .        Total of Part 8.                                                                                                      $20,000.00
                Add lines 47 through 50. Copy the total to line 87.

    52.         Is a depreciation schedule available for any of the property listed in Part 8?
                ■ No
                □ Yes

    53.         Has any of the property listed in Part 8 been appraised by a professional within the last year?
                ■ No
                □ Yes

-            Real property
54. Does the debtor own or lease any real property?

          ■ No. Go to Part 10.
          D Yes Fill in the information below.

-                   Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

          D No. Go to Part 11 .
          ■ Yes Fill in the information below.

                General description                                        Net book value of          Valuation method used    Current value of
                                                                           debtor's interest          for current value        debtor's interest
                                                                           (Where available)
Official Form 206A/B                                      Schedule A/8 Assets - Real and Personal Property                                     page 3
           Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                              Desc
                                                   Main Document    Page 12 of 34
 Debtor       BIS CLUB ANO BAR LCC                                                         Case number (If known) ____________ _
              Name


 60.      Patents, copyrights, trademarks, and trade secrets

 61 .     Internet domain names and websites

 62.      Licenses, franchises, and royalties
          Liquir License
          (Sold. Funds ued to pay emloyees)                                         Unknown                                            Unknown



 63.      Customer lists, mailing lists, or other compilations

 64.      Other intangibles, or intellectual property

 65.      Goodwill


 66.      Total of Part 10.                                                                                                              $0.00
          Add lines 60 through 65. Copy the total to line 89.

 67.      Do your lists or records include personally identifiable information of customers (as defined in 11 U.S .C.§§ 101 (41A) and 107?
          ■ No
          □ Yes

 68.      Is there an amortization or other similar schedule available for any of the property listed in Part 10?
          ■ No
          □ Yes

69.       Has any of the property listed in Part 10 been appraised by a professional within the last year?
          ■ No
          □ Yes

-             All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    ■ No. Go to Part 12.
    D Yes Fill in the information below ..




Official Form 206A/B                                Schedule A/8 Assets - Real and Personal Property                                         page4
                 Case 6:23-bk-14768-RB                                     Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                         Desc
                                                                           Main Document    Page 13 of 34
Debtor             BIS CLUB AND BAR LCC                                                                                           Case number (If known) _____ _______ _
                   Name


-._s_u_m_m_a_ry:.___ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                                                           Current value of                          Current value of real
                                                                                                                personal property                         property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                                    $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                                 $9,500.00

82. Accounts receivable. Copy line 12, Part 3.                                                                                             $0.00

83. Investments. Copy line 17, Part 4.                                                                                                     $0.00

84. Inventory. Copy line 23, Part 5.                                                                                                       $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                          $5,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                    $20,000.00

 88. Real property. Copy line 56, Part 9....... .......... ...... .............. ... ... .... ... ... ... .......... .... ...... .. ... ....... >                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                                         $0.00

 90. All other assets. Copy line 78, Part 11.                                                               +                              $0.00

 91 . Total. Add lines 80 through 90 for each column                                                                          $35,000.00            I+ 91 b.                      $0.00


 92. Total of all property on Schedule AIB. Add lines 91 a+91 b=92                                                                                                                  $35,000.00




Official Form 206A/B                                                       Schedule A/B Assets - Real and Personal Property                                                                page 5
          Case 6:23-bk-14768-RB                     Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                    Desc
                                                    Main Document    Page 14 of 34
 Fill in this information to identify the case:

 Debtor name      BIS CLUB AND BAR LCC

 United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                            D Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     ■ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     D Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                          page 1 of 1
            Case 6:23-bk-14768-RB                         Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                     Desc
                                                          Main Document    Page 15 of 34
Fill in this information to identify the case:

Debtor name       BIS CLUB AND BAR LCC

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                  D   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AIB: Assets. Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

■ @IN List All Creditors with PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

        ■ No. Go to Part 2.

        D Yes. Go to line 2.

■ ifflfM List All Creditors with NON PRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with non priority unsecured claims. If the debtor has more than 6 creditors with non priority unsecured claims, fill
        out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

~ Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                    $13,000.00
         Abdelniajid Awad                                                   D Contingent
         4164 N. Perris Blvd                                                D Unliquidated
         Perris, CA 92571                                                   D Disputed
         Date(s) debt was incurred July, August,
                                                                            Basis for the claim: Lease payments
         September, October 2023
         Last 4 digits of account number_                                   Is the claim subject to offset? ■ No      D Yes

~ Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                     Unknown
         Alliance Air Co.                                                   D Contingent
         324 E. Dyer Road #8                                                D Unliquidated
         Santa Ana, CA 92702                                                D Disputed
         Date(s) debt was incurred_
                                                                            Basis for the claim: HVAC
         Last 4 digits of account number_
                                                                            Is the claim subject to offset? ■ No      D Yes
~ Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                         $51.35
         Aramark                                                            D Contingent
         2680 Palumbo Drive                                                 D Unliquidated
         Lexington, KY 40509                                                D Disputed
         Date(s) debt was incurred 2021
                                                                            Basis for the claim: Cleaning materials
         Last 4 digits of account number 2349
                                                                            Is the claim subject to offset? ■ No      D Yes
~ Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                    $75,000.00
         Carolina Quigley                                                   D Contingent
         c/o Sahagun Law APV                                                D Unliquidated
         4229 Main Street
                                                                            D Disputed
         Riverside, CA 92501
                                                                            Basis for the claim: Jusdgment Creditor
         Date(s) debt was incurred 2/2022
         Last 4 digits of account number 1940                               Is the claim subject to offset? ■ No      D Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
                                                                                                          46344
            Case 6:23-bk-14768-RB                       Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                               Desc
                                                        Main Document    Page 16 of 34
 Debtor      BIS CLUB AND BAR LCC                                                                    Case number (if known)
             Name

~ Nonpriority creditor's name and mailing add ress                         As of the petition filing date, the claim is: Check all that apply.                   $102.39
          Cimtas Corp                                                       0 Contingent
          PO Box 29059                                                      D Unliquidated
          Phoenix, AZ 85038                                                 0 Disputed
          Date(s) debt was incurred 7/2023
                                                                           Basis for the claim:    Cleaning services
          Last 4 digits of account number 5962
                                                                           Is the claim subject to offset? ■ No      O Yes

~ Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                   $321.00
          Drik Specialties, inc                                            D Contingent
          1600 Chico Ave                                                   0 Unliquidated
          South El Monte, CA 91733                                         0 Disputed
          Date(s) debt was incurred July 2023
                                                                           Basis for the claim: Wine
          Last 4 digits of account number 3353
                                                                           Is the claim subject to offset? ■ No      D Yes
@:Q Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.                  $506.15
          Gate City Beverage                                               D Contingent
          Harbor Distriuting, LCC                                          0 Unliquidated
          2505 Steele Street                                               0 Disputed
          San Bernardino, CA 92408
                                                                           Basis for the claim:    Beer and other alcohol
          Date(s) debt was incurred July 2023
          Last 4 digits of account number 0990                             Is the claim subject to offset? ■ No      O Yes

@:O Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.                Unknown
          Raphaels Appliance                                               0 Contingent
          277 Norco Shasta Drive                                           0 Unliquidated
          Norco, CA 92860                                                  0 Disputed
          Date(s) debt was incurred_
                                                                           Basis for the claim:    HVAC Installation and Service
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No      D Yes
~ Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                $2,154.09
          Southern Califorina Edison                                       0 Contingent
          PO Box 600                                                       0 Unliquidated
          Rosemead, CA 91771                                               0 Disputed
          Date(s) debt was incurred   2023                                 Basis for the claim : Untility
          Last 4 digits of account number 2512
                                                                           Is the claim subject to offset? ■ No      D Yes
~ Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.              $75,000.00
          Veronica Maya                                                    D Contingent
          c/o Sahagun Law APV                                              0 Unliquidated
          4229 Main Street                                                 0 Disputed
          Riverside, CA 92501
                                                                           Basis for the claim: Judgment Creditor
          Date(s) debt was incurred   2/2022
          Last 4 digits of account number 1940                             Is the claim subject to offset? ■ No      D Yes


■ @IN List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors .

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

■ @IN Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
            Case 6:23-bk-14768-RB   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                      Desc
                                    Main Document    Page 17 of 34
Debtor      BIS CLUB AND BAR LCC                                       Case number ( it known)
           Name
                                                                                       Total of claim amounts

                                                                                                   - - -0.00
Sa. Total claims from Part 1                                             Sa.       $
Sb. Total claims from Part 2                                             Sb.   +   $
                                                                                       - - - - -- -166,134.98
                                                                                                          --

Sc. Total of Parts 1 and 2
    Lines Sa + 5b = Sc.                                                  5c.       $                       166,134.98
                                                                                       - - - - - - -- - - - - -




Official Form 206 E/F               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 3
            Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                        Desc
                                                     Main Document    Page 18 of 34
 Fill in this information to identify the case:

 Debtor name       BIS CLUB AND BAR LCC

United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  D Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       D No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8: Assets - Real and Personal               Property
(Official Form 206NB).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.        State what the contract or            Lese of premises
            lease is for and the nature of        located at 4164 N Perris
            the debtor's interest                 Blvd, Perris CA 92571

                State the term remaining          None
                                                                                    Abdelniajid Awad
             List the contract number of any                                        4164 N. Perris Blvd
                   government contract                                              Perris, CA 92571




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
           Case 6:23-bk-14768-RB                  Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                      Desc
                                                  Main Document    Page 19 of 34
Fill in this information to identify the case:

Debtor name      BIS CLUB AND BAR LCC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                          O Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

■ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form .
□ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules O-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed . If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                         Column 2: Creditor



          Name                         Mailing Address                                          Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                         DD
                                       Street                                                                                  0 E/F
                                                                                                                               □ G

                                       City                   State        Zip Code


   2.2                                                                                                                         DD
                                       Street                                                                                  0 E/F
                                                                                                                               □ G

                                       City                   State        Zip Code


   2.3                                                                                                                         DD
                                       Street                                                                                  □ E/F
                                                                                                                               □ G

                                       City                   State        Zip Code


   2.4                                                                                                                          DD
                                       Street                                                                                   D E/F
                                                                                                                                □ G

                                       City                   State        Zip Code




Official Form 206H                                                     Schedule H: Your Codebtors                                            Page 1 of 1
           Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                       Desc
                                                    Main Document    Page 20 of 34



 Fill in this information to identify the case :

 Debtor name        BIS CLUB AND BAR LCC

 United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                               D   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

■ifilM Income

1. Gross revenue from business

      D None.
       Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                          Gross revenue
       which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                            ■ Operating a business                                  $15,000.00
       From 1/01/2023 to Filing Date
                                                                                        D Other


       For year before that:                                                            ■ Operating a business                                $135,250.00
       From 1/01/2021 to 12/31/2021
                                                                                        D Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ■ None.

                                                                                       Description of sources of revenue           Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

■ififW List Certain Transfers Made Before Filing for Bankruptcy

3.   Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
     filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      ■ None.

       Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
               Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38 Desc
                                                       Main Document    Page 21 of 34
 Debtor        BIS CLUB AND BAR LCC                                           Case number (it known)
                                                                                                     -------------

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101 (31 ).

      ■ None.

       Insider's name and address                                   Dates                  Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5.   Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      ■ None

       Creditor's name and address                      Describe of the Property                                         Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

      ■ None

       Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                         taken

■ R\UM Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity-within 1 year before filing this case.

      D None.
                Case title                              Nature of case               Court or agency's name and                 Status of case
                Case number                                                          address
       7.1 .    Carolina Quigley v Veronica              Ulimited Civil              Superior Court of Riverside                D Pending
                Maya vs BIS BAR                                                      4050 Main Sreet                            D On appeal
                RIC2001940                                                           Riverside, CA 92501                        ■ Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ■ None


■ @IN Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
     the gifts to that recipient is less than $1,000

      ■ None

                Recipient's name and address             Description of the gifts or contributions                 Dates given                            Value


■ R\UJW Certain Losses

10. All losses from fire, theft, or other ca&ualty within 1 year before filing this case.


Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
            Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                         Desc
                                                    Main Document    Page 22 of 34
 Debtor        BIS CLUB AND BAR LCC                                                              Case number (it known) _ _ _ _ _ _ _ _ _ _ _ __




      ■ None

       Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received .

                                                       List unpaid claims on Official Form 106NB (Schedule
                                                       AIB: Assets - Real and Personal Property).

■ :ffilW Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      D None.
                Who was paid or who received              If not money, describe any property transferred              Dates                 Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Law Office of Boice &
                Associates
                307 E. Chapman Ave., Suite
                102
                Orange, CA 92866                                                                                       9/18/2023                   $2,000.00

                Email or website address
                bboice@lawyer.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person , other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on th is statement.

      ■ None.

               Who received transfer?                  Description of property transferred or                    Date transfer               Total amount or
               Address                                 payments received or debts paid in exchange               was made                             value

■ :ffifM Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



      ■ Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
            Case 6:23-bk-14768-RB                       Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38 Desc
                                                        Main Document    Page 23 of 34
Debtor     BIS CLUB AND BAR LCC                                                Case number /if known)
                                                                                                      - - - - - - - - - -- - - -

■=tfif:M Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

     ■    No. Go to Part 9.
     D    Yes. Fill in the information below.


              Facility name and address                   Nature of the business operation, including type of services              If debtor provides meals
                                                          the debtor provides                                                       and housing, number of
                                                                                                                                    patients in debtor's care

■ =tfiiM Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     ■    No.
     D    Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

     ■     No. Go to Part 10.
     D    Yes. Does the debtor serve as plan administrator?


■=tfil11M Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed , sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions , brokerage houses,
    cooperatives, associations, and other financia l institutions.

     ■ None
                Financial Institution name and            Last 4 digits of            Type of account or          Date account was               Last balance
                Address                                   account number              instrument                  closed, sold,              before closing or
                                                                                                                  moved, or                           transfer
                                                                                                                  transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before fi ling this
    case.


     ■ None

      Depository institution name and address                   Names of anyone with                  Description of the contents             Does debtor
                                                                access to it                                                                  still have it?
                                                                Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



      ■ None

      Facility name and address                                 Names of anyone with                  Description of the contents              Does debtor
                                                                access to it                                                                   still have it?


■=tfiliM Property the Debtor Holds or Controls That the Debtor Does Not Own


Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
             Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                             Desc
                                                      Main Document    Page 24 of 34
 Debtor      BIS CLUB AND BAR LCC                                                                  Case number (it known/ _ _ _ _ _ _ _ _ _ _ _ _ __




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

      ■ None


■ @If      WDetails About Environment Information
For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

       Site means any location , facility , or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
       owned , operated, or utilized.

       Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
       similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22.    Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       ■     No.
       D    Yes. Provide details below.

        Case title                                             Court or agency name and              Nature of the case                            Status of case
        Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

       ■    No.
       D    Yes. Provide details below.

        Site name and address                                  Governmental unit name and                Environmental law, if known               Date of notice
                                                               address

24. Has the debtor notified any governmental unit of any release of hazardous material?

       ■    No.
       D    Yes. Provide details below.

        Site name and address                                  Governmental unit name and                Environmental law, if known               Date of notice
                                                               address

■ tGIEM Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       ■ None

      Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                         Do not include Social Security number or ITIN .

                                                                                                         Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         D None
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
            Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                         Desc
                                                     Main Document    Page 25 of 34
Debtor      BIS CLUB AND BAR LCC                                                                Case number /if known) _ _ _ _ _ _ _ _ _ _ _ _ __



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Asits Accounting                                                                                                2022,2021,2020
                    1240 N Jefferson St
                    Anaheim CA 92807

   26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
        within 2 years before filing this case.

         ■ None


   26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

         ■ None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

   26d. List all finan cial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
        statement within 2 years before filing this case.

         ■ None

      Name and address

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

     ■     No
     D     Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                              Position and nature of any                 % of interest, if
                                                                                                  interest                                   any
      Gaudalupe Villavicencio                23299 Alta Oaks Dr                                   Owner                                      100
                                             Wildomar, CA 92595



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     ■     No
     D     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

     ■     No
     D     Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31 . Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
            Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                     Desc
                                                     Main Document    Page 26 of 34
 Debtor     BIS CLUB AND BAR LCC                                                                   Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ __




      ■    No
      D    Yes. Identify below.

    Name of the parent corporation                                                                       Employer Identification number of the parent
                                                                                                         corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      ■    No
      D    Yes. Identify below.

    Name of the pension fund                                                                             Employer Identification number of the pension
                                                                                                         fund

■:ZffllGM Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.




                                                                  Guadalupe Villavicenico
                                                                  Printed name

 Position or relationship to debtor   Owner
                                      -------------------
Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
■ No
□ Yes




Official Form 207                            Statement of Financial Affai rs for Non-Individuals Filing for Bankruptcy                                  page 7
              Case 6:23-bk-14768-RB                     Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                     Desc
                                                        Main Document    Page 27 of 34
82030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Central District of California
 In re       BIS CLUB AND BAR LCC                                                                             Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
I.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept_ _ _ _ _ _ _ _ _ _ _ _ _ __                      $                     4,000.00
             Prior to the filing of this statement I have received_ _ _ _ _ _ _ _ _ _ __                  $                     2,000.00
             Balance Due                                                                                  $                     2,000.00
                          -------------------------
2.   The source of the compensation paid to me was:

             ■ Debtor           0    Other (specify):

3.   The source of compensation to be paid to me is:

             ■ Debtor           D    Other (specify):

4.       ■ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates ofmy law firm.

         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                 Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                 any other adversary proceeding.
                                                                     CERTIFICATION
         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.                                                ~
                                                                            ~~                                   /
     October 14, 2023                                                                                         ~
     Date                                                                     BrceA.Boie
                                                                              Signature ofAttorney
                                                                              Law Office of Boice & Associates
                                                                              307 E. Chapman Ave
                                                                              Suite 102
                                                                              Orange, CA 92866
                                                                              949-690-8647 Fax: 949-612-0859
                                                                              bboice@lawyer.com
                                                                              Name of law firm
          Case 6:23-bk-14768-RB                   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                     Desc
                                                  Main Document    Page 28 of 34
Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONL y
State Bar No. & Email Address
 Bruce A. Boice
 307 E. Chapman Ave
 Suite 102
 Orange, CA 92866
 949-690-8647 Fax: 949-612-0859
 California State Bar Number: 249296 CA
 bboice@lawyer.com




 □   Debtor(s) appearing without an attorney
 ■   Attorney for Debtor

                                                  UNITED STATES BANKRUPTCY COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                 CASE NO.:
            BIS CLUB AND BAR LCC
                                                                                 CHAPTER: 7




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                  [LBR 1007-1(a)]

                                                             Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _2_ sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and o~y,sions.

Date: October 14, 2023                                                                           ·. 1~buvlu//4          ~11.vt--
                                                                                        Sidnature of Detftor 1

Date:
          ------------------

Date: October 14, 2023
                                                                                        Signature of Attorney for Debtor (if applicable)




                 This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                     F 1007-1.MAILING.LIST.VERIFICATION
Case 6:23-bk-14768-RB   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38   Desc
                        Main Document    Page 29 of 34



                   BIS CLUB AND BAR LCC
                   23299 Alta Oaks Dr
                   Wildomar, CA 92595


                   Bruce A. Boice
                   Law Office of Boice & Associates
                   307 E. Chapman Ave
                   Suite 1 02
                   Orange, CA 92866


                   Abdelniajid Awad
                   4164 N. Perris Bl vd
                   Perris, CA 92571


                   Alliance Air Co.
                   32 4 E. Dyer Road #B
                   Santa Ana, CA 92702


                   Aramark
                   2680 Palumbo Drive
                   Lex i ngton, KY 40509


                   Carolina Quigley
                   cl o Sahagun Law APV
                   4229 Main Street
                   Riverside, CA 92501


                   Cimtas Corp
                   PO Box 29059
                   Phoenix, AZ 85038


                   Drik Specialties, inc
                   1600 Ch ico Ave
                   South El Monte, CA 91733
Case 6:23-bk-14768-RB   Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38   Desc
                        Main Document    Page 30 of 34



                    Gate City Beverage
                    Harbor Distriuting, LCC
                    2505 Steele Street
                    San Bernardino, CA 92408


                    Raphaels Appliance
                    277 Norco Shasta Drive
                    Norco, CA 92860


                    Southern Califorina Edison
                    PO Box 600
                    Rosemead, CA 91771


                    Veronica Maya
                    cl o Sahagun Law APV
                    4229 Main Street
                    Riverside, CA 92501
         Case 6:23-bk-14768-RB                     Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                    Desc
                                                   Main Document    Page 31 of 34


Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Bruce A. Boice
307 E. Chapman Ave
Suite 102
Orange, CA 92866
949-690-8647 Fax: 949-612-0859
California State Bar Number: 249296 CA
bboice@lawyer.com




• Attorney for:
                                                 UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                         CASE NO.:
          BIS CLUB AND BAR LCC                                                 ADVERSARY NO.:
                                                                    Debtor(s), CHAPTER:  7

                                                                   Plaintiff(s),
                                                                                     CORPORATE OWNERSHIP STATEMENT
                                                                                        PURSUANT TO FRBP 1007(a)(1)
                                                                                          and 7007.1, and LBR 1007-4

                                                                                                                    [No hearing]
                                                               Defendant(s) .

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation 's equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Bruce A. Boice                                                           , the undersigned in the above-captioned case, hereby declare
                  (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




                 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                 F 1007-4.CORP .OWNERSHIP .STMT
          Case 6:23-bk-14768-RB                    Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                                                    Desc
                                                   Main Document    Page 32 of 34



[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
            □ I am the president or other officer or an authorized agent of the Debtor corporation
            □ I am a party to an adversary proceeding
            D I am a party to a contested matter
            ■ I am the attorney for the Debtor corporation
2.a.        □ The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
               class of the corporation's(s') equity interests:
               [For additional names, attach an addendum to this form.]
     b.     ■ There are no entities that directly or indirectly own 10% or more o~

October 14, 2023                                                                          By:   -::-:-\-'s:1--c=~~.,.c..:,o...£.>-4--+---,F-'-"---"<::-='-=----
Date

                                                                                          Name:         Bruce A. Boice
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




                 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
          Case 6:23-bk-14768-RB        Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                 Desc
                                       Main Document    Page 33 of 34

                                       United States Bankruptcy Court
                                            Central District of California
 In re   BIS CLUB AND BAR LCC                                                    Case No.
                                                         Debtor(s)               Chapter    _ 7_ _ _ _ _ _ _ __



         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

       I, Guadalupe Villavicenico, declare under penalty of perjury that I am the Owner of BIS CLUB AND BAR LCC,
and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the _ day of _ , 20_ .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Guadalupe Villavicenico, Owner of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy
case on behalf of the corporation; and

       Be It Further Resolved, that Guadalupe Villavicenico, Owner of this Corporation is authorized and directed
to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts
and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

       Be It Further Resolved, that Guadalupe Villavicenico, Owner of this Corporation is authorized and directed
to employ Bruce A. Boice, attorney and the law firm of Law Office of Boice & Associates to represent the corporation
in such bankruptcy case."

Date     October 14, 2023
        Case 6:23-bk-14768-RB         Doc 1 Filed 10/14/23 Entered 10/14/23 17:14:38                  Desc
                                      Main Document    Page 34 of 34

                                         Resolution of Board of Directors
                                                        of
                                               BIS CLUB AND BAR LCC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Guadalupe Villavicenico, Owner of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy
case on behalf of the corporation; and

       Be It Further Resolved, that Guadalupe Villavicenico, Owner of this Corporation is authorized and directed
to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts
and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

        Be It Further Resolved, that Guadalupe Villavicenico, Owner of this Corporation is authorized and directed
to employ Bruce A. Boice, attorney and the law firm of Law Office of Boice & Associates to represent the corporation
in such bankruptcy case.

Date   October 14, 2023                                Signed - ~~,::;....:,
                                                                        · f~,tc(__,(j/4
                                                                                    '-F'-
                                                                                      ~ -=--=
                                                                                          ~ :;...:;.__:;;_----



Date   October 14, 2023                                Signed _ ·~ ~,' ~ '-==.<-~~1_§ ~·_                _
